       Case 2:17-cr-00028-WBS Document 79 Filed 02/16/18 Page 1 of 2


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     GAGIK NERSESYAN
 6

 7
                              UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES,                            No. 17-CR-00028 WBS
11
                      Plaintiff,
12
            v.                                 STIPULATION AND PROPOSED
13                                             ORDER TO MODIFY CONDITIONS
     GAGIK NERSESYAN,                          OF RELEASE
14
                      Defendants.
15

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17          Based upon the recommendation of Pretrial Services Officer Darryl Walker,
18   it is hereby stipulated between the defendant, Gagik Nersesyan, by and through his
19   undersigned attorney, and the United States, by and through its undersigned
20   attorney, that the special conditions of Mr. Nersesyan’s release should be modified
21   to remove the following condition:
22                 12. You must participate in the following location monitoring program
23          component and abide by all the requirements of the program, which will
            include having a location monitoring unit installed in your residence and a
24          radio frequency transmitter device attached to your person. You must comply
25          with all instructions for the use and operation of said devices as given to you
            by the Pretrial Services Agency and employees of the monitoring company.
26          You must pay all or part of the costs of the program based upon your ability
27          to pay, as determined by the pretrial services officer.
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                                               1
       Case 2:17-cr-00028-WBS Document 79 Filed 02/16/18 Page 2 of 2


 1         All other special conditions (as previously modified) shall remain in full
 2   force and effect.
 3
     DATED: February 15, 2018                   /s/ Hayes H. Gable III
 4                                              HAYES H. GABLE III
                                                Attorney for Gagik Nersesyan
 5

 6
     DATED: February 15, 2018                   /s/ Brian A. Fogerty
 7                                              BRIAN A. FOGERTY
                                                Assistant United States Attorney
 8                                              Attorney for the United States
 9
     IT IS SO ORDERED.
10

11   DATED: February 15, 2018.
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